      Case: 1:18-cv-04334 Document #: 19 Filed: 09/28/18 Page 1 of 3 PageID #:83



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIA R. MARTINEZ,

                      Plaintiff,
                                                        No. 1:18-CV-04334
         v.
                                                        Hon. Charles R. Norgle, Sr.
CALIBER HOME LOANS, INC.,
A Delaware corporation, et al.

                      Defendants.


      THIRD MOTION TO EXTEND TIME TO ANSWER OR OTHERWISE PLEAD

         Caliber Home Loans, Inc. (“Caliber”) and U.S. Bank Trust, N.A. as Trustee for LSF9

Master Participation Trust (“U.S. Bank Trust,” together, the “Defendants”), by their undersigned

counsel and pursuant to Federal Rule of Civil Procedure 6(b), hereby move this Court for an

extension of time to answer or otherwise plead in response to Plaintiff Maria R. Martinez

(“Plaintiff”)’s Complaint. In support of their Motion, the Defendants state as follows:

         1.    Plaintiff served Caliber with a copy of the Summons and Complaint on July 5,

2018. Plaintiff served U.S. Bank Trust with a copy of the Summons and Complaint on July 2,

2018.

         2.    The Court granted the parties’ Second Agreed Motion to Extend Time to Answer

or Otherwise Respond on August 22, 2018. See Dkt. #18. Accordingly, the Defendants have until

September 30, 2018 to answer or otherwise plead in response to the Complaint. Id.

         3.    The parties have tentatively reached a settlement, and they are in the process of

negotiating the terms of a settlement agreement.

         4.    A status hearing on settlement was continued to October 5, 2018 at 10:00 a.m. See

Dkt. #18.




141457242.1
      Case: 1:18-cv-04334 Document #: 19 Filed: 09/28/18 Page 2 of 3 PageID #:83




         5.    Defendants hereby request that the Court extend the deadline by which the

Defendants must answer or otherwise respond to Plaintiff’s Complaint. Defendants anticipate

that this matter will be resolved on or before October 31, 2018.

         6.    This Motion is brought in good faith and not for purposes of delay.

         WHEREFORE, the Defendants respectfully request that this Court enter an order

extending the Defendants’ deadline to answer or otherwise plead in response to the Complaint to

October 31, 2018 and granting such other and further relief as this Court deems just and

reasonable.



Dated: September 28, 2018                    Respectfully submitted,

                                             U.S. Bank Trust and Caliber Home Loans, Inc.


                                          By: /s/ Yasamin N. Oloomi
                                            Yasamin N. Oloomi
                                            PERKINS COIE LLP
                                            131 S. Dearborn Street, Suite 1700
                                            Chicago, IL 60603-5559
                                            Tel.: (312) 324-8400
                                            Fax: (312) 324-9400
                                            yoloomi@perkinscoie.com




141457242.1
      Case: 1:18-cv-04334 Document #: 19 Filed: 09/28/18 Page 3 of 3 PageID #:83




                                  CERTIFICATE OF SERVICE

         I, Yasamin N. Oloomi, certify that on September 28, 2018, I electronically filed the

foregoing NOTICE OF MOTION and THIRD MOTION TO EXTEND TIME TO

ANSWER OR OTHERWISE PLEAD with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to all attorneys of record.

         I certify under penalty of perjury that the foregoing is true and correct.


                                                /s/ Yasamin N. Oloomi
                                                Yasamin N. Oloomi
                                                PERKINS COIE LLP
                                                131 South Dearborn Street
                                                Suite 1700
                                                Chicago, Illinois 60603-5559
                                                Tel: (312) 324-8400
                                                Fax: (312) 324-9400




141457242.1
